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ATTORNEYS FOR WESTMORELAND ROSEBUD MINING LLC

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

MONTANA ENVIRONMENTAL                )   Case No. 1:19-cv-00130-SPW-TJC
INFORMATION CENTER, INDIAN           )
PEOPLE’S ACTION, 350                 )
MONTANA, SIERRA CLUB,                )
WILDEARTH GUARDIANS,                 )
                                     )
           Plaintiffs,               )
     vs.                             )
                                     )      BRIEF IN SUPPORT OF
DAVID BERNHARDT, et al.,             )    WESTMORELAND ROSEBUD
                                     )    MINING LLC’S MOTION FOR
           Defendants,               )       LEAVE TO CONDUCT
     and                             )      LIMITED DISCOVERY
                                     )     REGARDING PLAINTIFFS’
WESTMORELAND ROSEBUD                 )           STANDING
MINING LLC,                          )
                                     )
           Applicant Defendant-      )
           Intervenor.               )
                                     )
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Exhibit D    February 7, 2014 5 Intervenors’ Responses to Appellant’s
             Interrogatories and Requests for Production; MEIC V. DEQ, NO.
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Exhibit E    February 13, 2014 Transcript of Deposition of Steve Gilbert;
             MEIC V. DEQ, NO. CDV 2012-1075

Exhibit F    February 13, 2015 Affidavit of Steve Gilbert in Support of
             Plaintiffs’ Motion for Summary Judgment and Brief in Support of
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             Motion for Summary Judgment; In the Matter of: Appeal
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Exhibit H    March 19, 2018 Excerpt of Transcript of AM4 Evidentiary
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                                INTRODUCTION

      Westmoreland Rosebud Mining LLC (“Westmoreland”) moved to dismiss

this action because Plaintiffs lack Article III standing. ECF No. 32. In response,

Plaintiffs submitted vague and inconsistent declarations that fail to link the Area F

mine plan modification to any credible injury. ECF Nos. 44-1 – 44-4. Plaintiffs’

complaint should be dismissed. Should, however, this Court find that Plaintiffs

have raised a factual issue, applicable case law authorizes Westmoreland to

conduct limited discovery regarding MEIC’s, Sierra Club’s, and WildEarth

Guardians’ standing.1

      Thus, Westmoreland requests leave to (i) conduct limited depositions of

Steve Gilbert (declarant for MEIC and Sierra Club) and Jeremy Nichols (declarant

for WildEarth Guardians), and (ii) serve Mr. Gilbert and Mr. Nichols with the

subpoenas duces tecum attached hereto as Exhibits A and B. This discovery would

be narrowly focused on verifying Mr. Gilbert’s and Mr. Nichols’ personal interests

in land near Area F.




1
  Plaintiffs Indian People’s Action and 350 Montana present no factual allegations
that support their standing. Accordingly, Westmoreland does not seek discovery of
these Plaintiffs and, instead, relies on its motion to dismiss. See ECF No. 33 at 13-
14, id. at 11 n.5.


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                                   ARGUMENT

      District courts have “[b]road discretion . . . to permit or deny discovery.”

Hallett v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002) (first alteration in original)

(internal quotation omitted); see also Land v. Dollar, 330 U.S. 731, 735 n.4 (1947)

(“[W]hen a question of the District Court’s jurisdiction is raised, either by a party

or by the court on its own motion, . . . the court may inquire by affidavits or

otherwise, into the facts as they exist.” (internal citations omitted)). Discovery is

warranted here to resolve the factual discrepancies apparent from Plaintiffs’

standing claims.

      “[T]o establish standing plaintiffs must show that they use the area affected

by the challenged activity and not an area roughly in the vicinity of a project site.”

Summers v. Earth Island Inst., 555 U.S. at 488, 499 (2009) (internal quotations

omitted). Moreover, a plaintiff cannot establish standing by seeking out the

claimed injury. See Ctr. for Biological Diversity v. United States Envtl. Prot.

Agency, 937 F.3d 533, 540-41 (5th Cir. 2019) (someone who goes looking for

pollution cannot claim an aesthetic injury from seeing it). Although standing can

be established through affidavits or declarations, mere generalities will not suffice.

Rather, a plaintiff “must set forth by affidavit or other admissible evidence

‘specific facts’ . . . as to the existence of such standing.” Gerlinger v. Amazon.com

Inc., 526 F.3d 1253, 1256 (9th Cir. 2008) (quoting Lujan v. Defs. of Wildlife, 504



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U.S. 555, 561 (1992)). Standing-based discovery is routinely conducted in suits

brought by organizations whose standing derives from individual members. See

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 177

(2000) (noting that the district court had examined affidavits and deposition

testimony from members of the plaintiff organizations when analyzing standing).2

      Here, Plaintiffs allege standing derived from their members’ alleged

aesthetic and recreational interest in land near Area F. Mr. Gilbert’s and Mr.

Nichols’ declarations, however, do not show that these individuals use and enjoy

lands affected by the proposed action, and certainly do not establish the very

“specific facts” necessary to establish standing. As explained below, Mr. Gilbert’s

declaration is inconsistent with his prior sworn testimony in related litigation. Mr.

Nichols’ declaration is inappropriately vague as to where he recreates and appears

to be inconsistent with prior sworn declarations. Consequently, Mr. Gilbert’s and

Mr. Nichols’ declarations cannot be taken as true and must be tested through

2
  See also Defs. of Wildlife, 504 U.S. at 563-64 (referencing deposition testimony
by member of environmental organization and concluding that organization lacked
standing to challenge agency action); Fla. Audubon Soc. v. Bentsen, 54 F.3d 873,
880 (D.C. Cir. 1995) (“We conclude that Ms. Jensen, based on her sworn
declaration and deposition, has established this nexus” for standing (emphasis
added)), rev’d en banc, 94 F.3d 658 (D.C. Cir. 1996); Defs. of the Wildlife v.
Hodel, 707 F. Supp. 1082, 1083 (D. Minn. 1989) (“The Secretary argues that the
depositions taken of the plaintiffs prove that no member of the plaintiff groups will
be injured by the new regulations, therefore, they have no standing.” (emphasis
added)), aff'd sub nom. Defs. of Wildlife v. Lujan, 911 F.2d 117 (8th Cir.
1990), rev’d sub nom. Defs. of Wildlife, 504 U.S. 555.


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discovery. See Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014) (“When

the defendant raises a factual attack, the plaintiff must support her jurisdictional

allegations with competent proof . . . under the same evidentiary standard that

governs in the summary judgment context.” (internal quotations omitted)); Klein v.

Freedom Strategic Partners, LLC, 595 F. Supp. 2d 1152, 1160 (D. Nev. 2009)

(concluding that “the Court should grant discovery when the jurisdictional facts are

contested or more facts are needed”).

      In light of these members’ inadequate declarations, Westmoreland is entitled

to dismissal of the complaint or, if this Court determines that these declarations

have raised a question of fact, Westmoreland may conduct standing-based

discovery.

I.    INCONSISTENCIES AND CONFLICTS BETWEEN MR. GILBERT’S PRIOR
      SWORN STATEMENTS AND CURRENT ALLEGATIONS CALL FOR DISCOVERY.

      Mr. Gilbert is a member of MEIC and Sierra Club. In December 2012, Mr.

Gilbert first offered standing testimony on behalf of MEIC in a matter concerning a

water discharge permit for the Rosebud Mine. See Ex. C, Dec. 2012 Decl. In

2012, Mr. Gilbert asserted longstanding and continuous aesthetic and recreational

interests in the East Fork Armells Creek and Rosebud Creek watersheds,

specifically identifying East Fork Armells Creek, Cow Creek, Green Leaf Creek,

and Rosebud Creek as waterways frequented for hunting and birding since 1977.

Ex. C, Dec. 2012 Decl. at ¶ 8. However, Mr. Gilbert did not assert any aesthetic or


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recreational interest in creeks in the West Fork Armells Creek watershed.3 Id. at

¶ 8 (“[D]uring this [1977 to 1986] time, I spent several days in the Colstrip area

hunting upland birds, particularly along East Fork Armells Creek, Cow Creek,

Green Leaf Creek and Rosebud Creek … While there, I observed East Fork

Armells Creek, Cow Creek, and Rosebud Creek.”); id. at ¶ 11 (“I love to hunt, fish,

and hike in southeast Montana (and I have done these activities annually since

1977) and I would love to be able to do so in and Colstrip, and along East Fork

Armells Creek, Cow Creek, Rosebud Creek and their tributaries.”).

      The district court authorized MEIC’s intervention in the water discharge

litigation, and, in January 2014, Westmoreland propounded written discovery

seeking evidence of standing. See Ex. D, Disc. Resp. Specifically, Westmoreland

requested that MEIC identify and describe each occasion since January 1, 2000

that any member of MEIC recreated near or observed, among others, West Fork

Armells Creek and its tributaries Black Hank Creek and Donley Creek.4 Id.

Westmoreland requested that MEIC provide the date of the visit or observation; the



3
 Distinguishing between the East Fork Armells Creek, Rosebud Creek, and West
Fork Armells Creek drainage basins is not a trivial exercise. The West Fork
Armells Creek watershed alone covers 95,000 acres (148 square miles). ECF No.
46-10 at 3.
4
 Of the many waterways listed in the interrogatory, only West Fork Armells
Creek, Black Hank Creek, and Donley Creek exist in the West Fork Armells Creek
drainage basin.


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name of the individual; the location of the visit or observation; the duration of the

visit or observation; and the purpose of the visit or observation. MEIC identified

Mr. Gilbert as the lone MEIC member having responsive information. However,

MEIC provided no evidence that Mr. Gilbert ever visited West Fork Armells Creek

(or its tributaries Black Hank Creek, Donley Creek, Robbie Creek, McClure Creek,

and Trail Creek) and only offered a single cursory assertion that “Mr. Gilbert

regularly hunts” all of the drainages in the vicinity of the Rosebud Mine. See Ex.

D, Disc. Resp. at 6.

      Westmoreland deposed Mr. Gilbert on February 13, 2014. At deposition,

Mr. Gilbert could not provide clear, specific testimony that he had ever hunted or

otherwise recreated along West Fork Armells Creek or its tributaries. See Ex. E,

Feb. 2014 Dep. Tr. at 20:13-17 (Q: “[H]ave you ever hunted on the drainages of

the following creeks: Black Hank Creek, Donley Creek, Pony Creek, Crow Creek,

or Spring Creek?” A: “I don’t know.”); 37:17-25, 38:1-18 (Q: “When was the last

time you were down West Fork Armells, as you described it?” A: “Sometime

within the last five years. … Probably driving around looking for places to hunt. …

I know I have not hunted there.”). Indeed, when presented with a map and asked

to identify specific hunting locations, Mr. Gilbert specifically did not identify any

areas within the West Fork Armells Creek drainage. Instead he only circled lands

within other drainages -- the East Fork Armells Creek and Rosebud drainage



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basins. Id. at 28:16 – 33:13 (identifying public and private lands in the East Fork

Armells Creek and Rosebud drainage basins approximately 15 miles east of the

West Fork Armells Creek drainage basin and the Area F boundary). In any event,

Mr. Gilbert further testified that any hunting along East Fork Armells Creek and

West Fork Armells Creek (to the extent it ever occurred) absolutely ceased in 2007

as a result of a back injury. Ex. E, Feb. 2014 Dep. Tr. at 19:3-9, 25:9-18 (Q:

“When was the last time that you recall hunting in that [East Fork Armells Creek

or West Fork Armells Creek] drainage?” A: “Probably about the same time,

somewhere in the 2007 range.”).

      Since his 2014 deposition, Mr. Gilbert has provided near-annual standing

testimony on behalf of MEIC and Sierra Club for all matters concerning the

Rosebud Mine. See Ex. F (Feb. 2015 Aff.); Ex. G (June 2016 Aff.); Ex. H (Mar.

2018 Hr’g Tr.); Ex. I (Nov. 2019 Dep. Tr.). For each matter, Mr. Gilbert has

maintained having longstanding and continuous aesthetic and recreational interests

in the East Fork Armells Creek and Rosebud Creek watersheds. Even so, at no

point during this period did Mr. Gilbert assert any aesthetic or recreational interest

anywhere in the West Fork Armells Creek drainage basin, much less in the

immediate area of West Fork Armells Creek and its tributaries.5



5
 Mr. Gilbert first asserted an interest in West Fork Armells Creek drainage during
his November 20, 2019 deposition in a parallel matter challenging Area F.


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      On November 18, 2019, MEIC initiated a parallel matter challenging the

Montana Department of Environmental Quality’s (“Department”) environmental

assessment for Area F. Area F abuts the western-most boundary of the Rosebud

Mine approximately 12 miles west of Colstrip, Montana and extends the footprint

of the Rosebud Mine to the west and north across the southern edge of the West

Fork Armells Creek watershed.6 Moreover, that disturbance will be limited to an

area of 3.4 square miles, which is equivalent to less than 2.3% of the entire West

Fork watershed, and an even smaller percentage of the overall Armells Creek

Watershed. ECF No. 46-10 at 3.

      On November 20, 2019, Westmoreland deposed Mr. Gilbert in the parallel

matter, but without the benefit of his February 21, 2020 declaration in this case.7

At deposition, Mr. Gilbert testified regarding his only documented visits to the

West Fork Armells Creek watershed in August 2018 and September 2019. Mr.



6
 Areas A, B, C, D, and E of the Rosebud Mine are located near the town of
Colstrip in Rosebud County, Montana and almost entirely in the East Fork Armells
Creek and Rosebud Creek watersheds. Area F is entirely comprised of privately-
owned surface lands located in the West Fork Armells Creek watershed and
spanning the border between Rosebud County and Treasure County.
7
 On May 20, 2019, MEIC and Sierra Club initiated a separate challenge of Area F
before the Montana Board of Environmental Review and again identified Mr.
Gilbert as their standing witness. Westmoreland deposed Mr. Gilbert for that
matter on November 20, 2019, nearly four months before MEIC’s disclosure of
Mr. Gilbert’s newfound aesthetic and recreational interests in the West Fork
Armells Creek watershed.


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Gilbert characterized the two visits as “drive throughs” conducted for the express

purpose of manufacturing standing for Area F environmental litigation. See Ex. I,

Nov. 2019 Dep. Tr. at 27:17-22, 70:1 – 73:25.

      MEIC and Sierra Club have resisted dismissal of this matter for lack of

standing, in part, on Mr. Gilbert’s February 21, 2020 standing declaration. ECF

No. 44-1. Without any documentary support, Mr. Gilbert now alleges – for the

first time – having longstanding recreational and aesthetic interests in the West

Fork Armells Creek watershed, and that such continuing use will be harmed by

Area F, claims that conflict with Mr. Gilbert’s prior statements and testimony:

   • “I love to hunt, fish, hike, and view the countryside in southeast Montana,
     activities I have done annually since 1977. I hope to be able to continue to
     do so in the West Fork Armells Creek drainage.” ECF No. 44-1 at ¶ 16;
     compare to Ex. D, Feb. 2014 Disc. Resp. at 4-5; Ex. E, Feb. 2014 Dep. Tr. at
     19:3-9, 10:22 – 11:8, 20:13-17, 104:10-12; Ex. I, Nov. 2019 Dep. Tr. at
     27:17 – 28:11, 74:1 – 75:2, 48:5 – 50:2; Ex. C, Dec. 2012 Decl. at ¶ 11; Ex.
     F, Feb. 2015 Aff. at ¶ 11; Ex. G, June 2016 Aff. at ¶ 11.

   • “Over the past 36 years, I have driven through and around Colstrip at
     least annually for work, recreation, or in my work as a board member of
     conservation organizations. I expect to continue to visit the Colstrip area
     at least on an annual basis in the coming years. As I drive through the
     area, I will observe the countryside and creeks and streams, including
     West Fork Armells Creek.” ECF No. 44-1 at ¶ 11; compare to Ex. I,
     Nov. Dep. Tr. at 65:25 – 66:9, 105:24 – 106:14, 107:16 – 108:11; Ex. C,
     Dec. 2012 Decl. at ¶ 9; Ex. F, Feb. 2015 Aff. at ¶9; Ex. G, June 2016 Aff.
     at ¶ 9.

   • “I intend to continue visiting and recreating in the West Fork Armells Creek
     basin.” ECF No. 44-1 at ¶ 17; compare to Ex. D, Feb. 2014 Disc. Resp. at
     4-5; Ex. E, Feb. 2014 Dep. Tr. at 19:3-9; Ex. I, Nov. 2019 Dep. Tr. at 27:17
     – 28:11, 74:22 – 75:2.


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   • “I also plan to continue to visit people in and around East Fork Armells
     Creek, West Fork Armells Creek, Colstrip, and the Rosebud Mine.” ECF
     No. 44-1 at ¶ 17; compare to Ex. D, Feb. 2014 Disc. Resp. at 4-5; Ex. I,
     Nov. 2019 Dep. Tr. at 29:3-25; Ex. C, Dec. 2012 Decl. at ¶ 13; Ex. F, Feb.
     2015 Aff. at ¶ 13; Ex. G, June 2016 Aff. at ¶ 13.

   • “There is no question that my aesthetic and recreational appreciation for the
     beautiful country in the West Fork Armells Creek basin, including Black
     Hand [sic], Donley, Robbie, McClure, and Trail Creek, will be greatly
     diminished if the area is strip-mined.” ECF No. 44-1 at ¶ 17; compare to
     Ex. D, Feb. 2014 Disc. Resp. at 4-5; Ex. E, Feb. 2014 Dep. Tr. at 10:22 –
     11:8, 104:10-12.

   • “In the summer of 2018, I traveled alone and visited Area F to appreciate its
     aesthetic values, traveling on the roads available to the public through the
     proposed permit area, and occasionally stopping and walking to appreciate
     the beautiful area.” ECF No. 44-1 at ¶ 12; compare to Ex. I, Nov. 2019 Dep.
     Tr. at 48:5 – 50:2, 70:11 – 72:24.

   • “In the summer of 2019, I visited West Fork Armells Creek, its tributaries,
     and the proposed Area F expansion with MEIC staff.” ECF No. 44-1 at ¶
     12; compare to Ex. I, Nov. 2019 Dep. Tr. at 26:23 – 29:6, 75:3 – 99:4.

      Mr. Gilbert’s newfound aesthetic and recreational interests are inconsistent

and irreconcilable with prior sworn statements and discovery responses, and,

contrary to Mr. Gilbert’s dismissive assertion, many questions remain regarding

his past and future use of the West Fork Armells Creek drainage, and whether such

use (to the extent any use exists) will be affected by Area F. ECF No. 44-1 at ¶ 17

(“There is no question that my aesthetic and recreational appreciation for the

beautiful country in the West Fork Armells Creek basin, including Black Hand

[sic], Donley, Robbie, McClure, and Trail Creek, will be greatly diminished if the

area is strip-mined.”). Westmoreland seeks additional discovery to explore Mr.


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Gilbert’s manifest inconsistencies, discrepancies, and contradictions (which

Intervenors were prejudicially prevented from exploring at deposition in November

2019), including, without limitation, Mr. Gilbert’s newfound assertions of

longstanding and continuing recreational and aesthetic interests in the West Fork

Armells Creek watershed.8

II.    DISCOVERY IS NEEDED TO CLARIFY VAGUENESS IN MR. NICHOLS’
       DECLARATION.

       The assertions in Mr. Nichols’ declaration on behalf of WildEarth Guardians

are too vague to establish standing and inconsistent with his prior sworn

statements. Discovery is necessary to investigate whether Mr. Nichols’ past

recreation and future plans meet the Article III threshold.

       Mr. Nichols claims a general aesthetic and recreational enjoyment of land

near Colstrip but fails to provide the requisite specificity for standing to challenge

mining in Area F of the Rosebud Mine. In his most direct averments, allegedly

based on a 2018 visit to the Colstrip area, Mr. Nichols states that he hiked on

“public lands in the upper West Armells Creek area just to the northwest of the

current Rosebud mining operations,” and “lands south and east of the town


8
  The need for specific testimony regarding Mr. Gilbert’s future recreational plans
is underscored by his prior testimony of “concrete” plans to recreate in the vicinity
of the Rosebud Mine that never occurred. For example, Mr. Gilbert testified on
March 19, 2018 of “concrete” plans to hunt turkeys near Colstrip that spring.
Ex. H, Hr’g Tr. at 111:4-16. However, the turkey hunt never occurred. Ex. I, Nov.
2019 Dep. Tr. at 112:1 – 113:6.


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Colstrip.” ECF No. 44-2 at ¶ 10. These claims are impermissibly vague because

the areas he references are vast.

      The problems with Mr. Nichols’ claims about hiking on public lands in the

upper West Armells Creek area are twofold. First, the West Armells Creek

watershed9 covers 94,720 acres, and Area F surface disturbance will constitute

only 2.3% of that area. See ECF No. 46-10 at 3. Thus it is far from apparent from

his declaration whether Mr. Nichols was ever in the vicinity of Area F such that

activities there could adversely affect him. Second, it is unclear what “public

lands” Mr. Nichols references in the West Armells Creek area. Any public lands

there are extremely limited and isolated. See ECF No. 46-1 at 6-7. In fact, the

entire Area F permit area (which extends well beyond planned surface disturbance)

is on private surface land. ECF No. 46-1 at 4. So the only thing Mr. Nichols’

declaration establishes for certain is that he was not in the vicinity of any surface

disturbance permitted for Area F.

      Mr. Nichols’ claim about recreation near Colstrip is even more vague. He

claims to have recreated “south” and “east” of Colstrip. The entrance to the

Rosebud Mine is two miles south of Colstrip (and to the west of town), but the

eastern-most boundary of Area F is approximately 12 miles west of Colstrip, ECF



9
 Mr. Nichols does not specify whether he was in the watershed or simply in the
“area,” further reducing the specificity of his claim.


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No. 46-1 at 3, making it unlikely that Mr. Nichols’ recreation in unnamed areas

“south” and “east” of Colstrip would be affected by mining operations in Area F.

Discovery is necessary to verify whether Mr. Nichols’ vague claims to recreation

in large areas in the broad vicinity of the Rosebud Mine demonstrate that he

actually has an interest in the small area of the upper West Fork Armells Creek

watershed where Area F is located.

        Further, Mr. Nichols’ declaration raises questions of fact as to his claimed

recreation in southeast Montana prior to 2018 when compared to sworn

declarations he has submitted in previous litigation. The declarations Mr. Nichols

submitted for standing in prior cases recount trips that he took from Golden,

Colorado to southeast Montana. ECF No. 46-5 at ¶¶ 20-22; ECF No. 46-6 at ¶¶ 9-

11; ECF No. 46-7 at ¶¶ 26-30. Yet these prior declarations do not suggest

recreation anywhere near the Rosebud Mine expansion, despite the Rosebud

Mine’s location in southeast Montana. As drafted, the prior declarations appear to

present an exhaustive summary of the activities Mr. Nichols undertook on each

trip. Westmoreland should be allowed to depose Mr. Nichols regarding these trips

to determine where exactly he recreated and the purpose of these trips, and why he

previously failed to mention the trips he now recounts in his declaration for this

case.




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      Of course, recreating in the general vicinity of Area F is insufficient to

establish standing. See Summers, 555 U.S. at 499. Rather, a plaintiff must provide

“specific facts” showing his or her use of the area affected by the challenged

action. Id. at 498; Gerlinger, 526 F.3d at 1256. Because of the vagueness of Mr.

Nichols’ averments, it remains unclear how close Mr. Nichols’ recreational

activities brought him to the privately-owned Area F. And, to the extent his

declaration is sufficient to overcome its lack of specificity, it only creates an issue

of fact that Westmoreland may test in discovery.

                                   CONCLUSION

      For the foregoing reasons, to the extent that this Court believes that the

proffered declarations create an issue of fact that prevents dismissal of MEIC,

Sierra Club, and WildEarth Guardians, Westmoreland respectfully requests leave

to (i) conduct limited depositions of Steve Gilbert and Jeremy Nichols, and (ii)

serve Mr. Gilbert and Mr. Nichols with the subpoenas duces tecum attached hereto

as Exhibits A and B, respectively.

      Dated this 23rd day of April, 2020.




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                        CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing brief is double-spaced, has a typeface of

14 points or more, and contains less than 6,500 words exclusive of the caption,

table of contents, tables of authorities, and certificates, in compliance with the

Local Rule 7.1(d)(2)(A).

                           CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2020, I filed the foregoing document

electronically through the CM/ECF system, which caused all counsel of record to

be served by electronic means, as more fully reflected on the Notice of Electronic

Filing.

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